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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ARTURO GONZALEZ-MORAN
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   No. 2:12-cr-0432 JAM
                                                       )
12                          Plaintiff,                 )   STIPULATION AND ORDER TO CONTINUE
                                                       )   STATUS CONFERENCE
13          v.                                         )
                                                       )
14   ARTURO GONZALEZ-MORAN and                         )
     GILBERTO LORENZO LUVIO,                           )   Date: October 1, 2013
15                                                     )   Time: 9:45 a.m.
                            Defendants.                )   Judge: Hon. John A. Mendez
16                                                     )
     _______________________________                   )
17
18          IT IS HEREBY STIPULATED and agreed to between the United States of America through
19   MICHAEL McCOY, Assistant U.S. Attorney; defendant ARTURO GONZALEZ-MORAN by and through
20   his counsel, BENJAMIN GALLOWAY, Assistant Federal Defender; and defendant GILBERTO LORENZO
21   LUVIO, by and through his counsel, J. PATRICK McCARTHY, that the status conference set for September
22   17, 2013 be continued to October 1, 2013 at 9:45 a.m.
23          The reason for this continuance is to allow defense counsel additional time to review discovery with
24   the defendants, to investigate the facts of the case, and to negotiate a resolution to this matter.
25          Based upon the foregoing, the parties agree that the time under the Speedy Trial Act should be
26   excluded from the date of signing of this order through and including October 1, 2013 pursuant to 18 U.S.C.
27   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local Code T4 based upon continuity of counsel
28   and defense preparation.
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 1   DATED:              September 13, 2013              Respectfully submitted,
 2                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
 3
                                                         /s/ Benjamin Galloway
 4                                                       BENJAMIN GALLOWAY
                                                         Assistant Federal Defender
 5                                                       Attorney for Defendant
                                                         ARTURO GONZALEZ-MORAN
 6
 7                                                       /s/ J. Patrick McCarthy
                                                         J. PATRICK McCARTHY
 8                                                       Attorney for Defendant
                                                         GILBERTO LORENZO LUVIO
 9
     DATED:              September 13, 2013              BENJAMIN B. WAGNER
10                                                       United States Attorney
11                                                       /s/ Michael McCoy
                                                         MICHAEL McCOY
12                                                       Assistant U.S. Attorney
                                                         Attorney for Plaintiff
13
14
15                                                ORDER
16           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the September 17,
17   2013, status conference hearing be continued to October 1, 2013, at 9:45 a.m. Based on the representation
18   of defense counsel and good cause appearing there from, the Court hereby finds that the failure to grant a
19   continuance in this case would deny defense counsel reasonable time necessary for effective preparation,
20   taking into account the exercise of due diligence. The Court finds that the ends of justice to be served by
21   granting a continuance outweigh the best interests of the public and the defendant in a speedy trial. It is
22   ordered that time up to and including the October 1, 2013 status conference shall be excluded from
23   computation of time within which the trial of this matter must be commenced under the Speedy Trial Act
24   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense counsel reasonable
25   time to prepare.
26   DATED: September 13, 2013
27                                                       /s/ John A. Mendez
                                                         HON. JOHN A. MENDEZ
28                                                       United States District Court Judge


     Stipulation/Order                                   -2-
